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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                      Plaintiff,

                                                                     DECISION AND ORDER

                                                                     04-CR-6143L

                       v.

RODNEY RODRIGUEZ LOPEZ,



                              Defendant.
________________________________________________


       This Court referred pretrial motions to United States Magistrate Judge Jonathan W. Feldman

pursuant to 28 U.S.C. § 636(b). Defendant filed omnibus motions, including a motion to suppress

evidence seized from a hotel room. The Magistrate Judge heard argument on June 20, 2005, and

issued an oral Report and Recommendation that same day recommending that the motion be denied

on the grounds that defendant had failed to establish any standing to object to the search on Fourth

Amendment grounds. No affidavit of standing was filed by a person with knowledge and, therefore,

there was no evidence before Magistrate Judge Feldman that defendant had any expectation of

privacy in the premises. Based on that, Magistrate Judge Feldman recommended denial of the

motion.

       No objections have been filed to that oral Report and Recommendation.
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          I have reviewed the motions, and I have also listened to the tape recording of the argument

and proceedings before Magistrate Judge Feldman on June 20, 2005. I agree with Magistrate Judge

Feldman’s determination.



                                           CONCLUSION

          Defendant’s motion to suppress evidence obtained pursuant to a search is in all respects

denied.

          IT IS SO ORDERED.



                                        _______________________________________
                                                 DAVID G. LARIMER
                                               United States District Judge


Dated: Rochester, New York
       August 17, 2005.




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